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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

      In re:
                                                                  Chapter 11
      WILLIAMS INDUSTRIAL SERVICES
      GROUP INC., et al., 1                                       Case No. 23-10961 (BLS)

                                                                  (Jointly Administered)
                Debtors.

                     NOTICE OF AGENDA FOR THE HEARING SCHEDULED FOR
                               AUGUST 30, 2023, AT 2:00 P.M. (ET) 2

             THE HEARING WILL BE CONDUCTED IN-PERSON AND BY ZOOM.
                 PARTICIPANTS APPEARING BY ZOOM ARE REQUIRED
        TO REGISTER NO LATER THAN TUESDAY, AUGUST 29, 2023, AT 4:00 P.M. (ET)
          PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THE HEARING:

       https://debuscourts.zoomgov.com/meeting/register/vJItce6qrzojE4E-dYeFVN4YC0-8ZxsmAFs

               AFTER REGISTERING, YOU WILL RECEIVE A CONFIRMATION EMAIL
                  CONTAINING INFORMATION ABOUT JOINING THE MEETING.

                    AUDIO FOR THE HEARING WILL BE PROVIDED BY ZOOM ONLY.


I.             RESOLVED/ADJOURNED MATTERS

               1.      Application of the Debtors for an Order Authorizing and Approving the
                       Employment of Gavin/Solmonese LLC as Chief Restructuring Officer for the
                       Debtors Effective July 22, 2023 [D.I. 135; 8/9/23].

                       Objection Deadline: August 23, 2023, at 4:00 p.m. (ET).

                       Related Pleadings:

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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
     Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
     (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
     Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
     (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
     location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
     30338.
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   All motions and other pleadings referenced herein are available online at either of the following web addresses:
 https://dm.epiq11.com/WilliamsIndustrialServicesGroup or https://dm.epiq11.com/WISGRP.

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              A.     Notice of Filing of Corrected Exhibit B to the Application of the Debtors
                     for an Order Authorizing and Approving the Employment of
                     Gavin/Solmonese LLC as Chief Restructuring Officer for the Debtors
                     Effective July 22, 2023 [D.I. 144; 8/10/23].

              B.     Certification of Counsel Regarding Order Authorizing and Approving the
                     Employment of Gavin/Solmonese LLC as Chief Restructuring Officer for
                     the Debtors Effective July 22, 2023 [D.I. 211; 8/24/23].

              C.     Order Authorizing and Approving the Employment of Gavin/Solmonese
                     LLC as Chief Restructuring Officer for the Debtors Effective July 22, 2023
                     [D.I. 215; 8/25/23].

              Objections Received: Informal comments from the U.S. Trustee.

              Status: An order has been entered. No hearing is necessary.

         2.   Application of the Debtors for Entry of an Order Authorizing the Retention and
              Employment of Chipman Brown Cicero & Cole, LLP, as Co-Counsel to the
              Debtors Effective as of the Petition Date [D.I. 137; 8/9/23].

              Objection Deadline: August 23, 2023, at 4:00 p.m. (ET).

              Related Pleadings:

              A.     Certification of Counsel Regarding Order Authorizing the Retention and
                     Employment of Chipman Brown Cicero & Cole, LLP, as Co-Counsel to the
                     Debtors Effective as of the Petition Date [D.I. 209; 8/24/23].

              B.     Order Authorizing the Retention and Employment of Chipman Brown
                     Cicero & Cole, LLP, as Co-Counsel to the Debtors Effective as of the
                     Petition Date [D.I. 213; 8/25/23].

              Objections Received: Informal comments from the U.S. Trustee.

              Status: An order has been entered. No hearing is necessary.

         3.   Motion of Debtors for Entry of Order Establishing Procedures for Interim
              Compensation and Reimbursement of Expenses of Professionals [D.I. 141; 8/9/23].

              Objection Deadline: August 23, 2023, at 4:00 p.m. (ET).

              Related Pleadings:




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                  A.     Certification of Counsel Regarding Order Establishing Procedures for
                         Interim Compensation and Reimbursement of Expenses of Professionals
                         [D.I. 210; 8/24/23].

                  B.     Order Establishing Procedures for Interim Compensation                     and
                         Reimbursement of Expenses of Professionals [D.I. 214; 8/25/23].

                  Objections Received: Informal comments from the U.S. Trustee.

                  Status: An order has been entered. No hearing is necessary.

 II.         MATTERS EXPECTED TO BE FILED UNDER CERTIFICATION

             4.   Debtors’ Application for an Order Authorizing the Retention and Employment of
                  Thompson Hine LLP as Counsel to the Debtors and Debtors-in-Possession
                  Effective as of the Petition Date [D.I. 140; 8/9/23].

                  Objection Deadline: August 23, 2023, at 4:00 p.m. (ET). Extended to August 28,
                  2023, at 5:00 p.m. (ET) for the U.S. Trustee.

                  Related Pleadings: None.

                  Objections Received: Informal comments from the U.S. Trustee.

                  Status: The Debtors have resolved the informal comments from the U.S. Trustee
                  and intend to file a revised form of order under certification of counsel.

III.         CONTESTED MATTERS GOING FORWARD

             5.   Debtors’ Application for an Order (I) Authorizing the Employment and Retention
                  of G2 Capital Advisors, LLC as Financial Advisor to the Debtors and Debtors in
                  Possession, Effective as of Petition Date, and (II) Granting Related Relief [D.I. 136;
                  8/9/23].

                  Objection Deadline: August 23, 2023, at 4:00 p.m. (ET). Extended to August 28,
                  2023, at 5:00 p.m. (ET) for the U.S. Trustee and the Committee.

                  Related Pleadings: None.

                  Objections Received: Informal comments from the U.S. Trustee.

                  Status: This matter is going forward.

             6.   Debtors’ Application for an Order (I) Authorizing the Employment and Retention
                  of Greenhill & Co., LLC as Investment Banker to the Debtors and Debtors in
                  Possession, Effective as of Petition Date, and (II) Granting Related Relief [D.I. 138;
                  8/9/23].

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              Objection Deadline: August 23, 2023, at 4:00 p.m. (ET). Extended to August 28,
              2023, at 5:00 p.m. (ET) for the U.S. Trustee and the Committee.

              Related Pleadings:

              A.     Notice of Filing of Supplement to Debtors’ Application for an Order (I)
                     Authorizing the Employment and Retention of Greenhill & Co., LLC as
                     Investment Banker to the Debtors and Debtors in Possession, Effective as
                     of Petition Date, and (II) Granting Related Relief [D.I. 199; 8/21/23].

              Objections Received:       Informal comments from the U.S. Trustee and the
              Committee.

              Status: The Debtors have resolved the objections of the U.S. Trustee with respect
              to this application. This matter is going forward.

         7.   Application of the Debtors for Authority to Retain and Employ Epiq Corporate
              Restructuring, LLC, as Administrative Advisor Effective as of the Petition Date
              [D.I. 139; 8/9/23].

              Objection Deadline: August 23, 2023, at 4:00 p.m. (ET). Extended to August 28,
              2023, at 5:00 p.m. (ET) for the U.S. Trustee and the Committee.

              Related Pleadings: None.

              Objections Received: Informal comments from the U.S. Trustee.

              Status: This matter is going forward.




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 Dated: August 28, 2023             CHIPMAN BROWN CICERO & COLE, LLP
 Wilmington, Delaware
                                     /s/Mark L. Desgrosseilliers
                                    Mark L. Desgrosseilliers (No. 4083)
                                    Hercules Plaza
                                    1313 North Market Street, Suite 5400
                                    Wilmington, Delaware 19801
                                    Telephone: (302) 295-0192
                                    desgross@chipmanbrown.com

                                    -and-

                                    Sean A. Gordon (pro hac vice pending)
                                    Austin B. Alexander (pro hac vice pending)
                                    THOMPSON HINE LLP
                                    Two Alliance Center
                                    3560 Lenox Road NE, Suite 1600
                                    Atlanta, Georgia 30326-4266
                                    Telephone: (404) 541-2900
                                    Facsimile: (404) 541-2905
                                    Sean.Gordon@thompsonhine.com
                                    Austin.Alexander@thompsonhine.com

                                    Alan R. Lepene (pro hac vice pending)
                                    Scott B. Lepene (pro hac vice pending)
                                    THOMPSON HINE LLP
                                    3900 Key Center
                                    127 Public Square
                                    Cleveland, Ohio 44114-1291
                                    Telephone: (216) 566-5500
                                    Facsimile: (216) 566-5800
                                    Alan.Lepene@thompsonhine.com
                                    Scott.Lepene@thompsonhine.com

                                    Proposed Counsel for Debtors




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